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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                 BALTIMORE DIVISION


 SYLVIA T. DUPREE
                                                             1:17-cv-02036-GLR
                   Plaintiff,

       v.                                               Hon. George Levi Russell, III

 EQUIDATA, INC.

                   Defendant.


    MOTION TO STAY ACTION PENDING DEFENDANT’S BANKRUPTCY CASE

       Sylvia T. Dupree (“Plaintiff”), having recently received notice of the filing of a Chapter 7

Bankruptcy case in the Eastern District of Virginia on behalf of Defendant, Equidata, Inc., case

number 17-51648-FJS, hereby moves this Court for an order staying this action pending the

completion of Defendant’s bankruptcy case. A copy of the Notice of Chapter 7 Bankruptcy Case

is attached to this motion as Exhibit A.

       For these reasons, Plaintiff requests that this Court stay the action pending Defendant’s

bankruptcy case.


Dated: December 21, 2017.                    Respectfully Submitted,

                                               /s/ Geoff B. McCarrell
                                             Geoff B. McCarrell (Admitted Pro Hac Vice)
                                             CONSUMER LAW PARTNERS, LLC
                                             435 N. Michigan Ave., Suite 1609
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                                             (267) 422-1000 (phone)
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                                             geoff.m@consumerlawpartners.com

                                             Counsel for Plaintiff
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                                 CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and accurate copy of the foregoing Motion to Stay

Action Pending Defendant’s Bankruptcy Case is being filed electronically with the United States

District Court for the District of Maryland, on this 21st day of December, 2017. Notice of this filing

will be transmitted to the Defendant via U.S. Mail, postage prepaid to the following address.

                                            Equidata, Inc.
                                        c/o Robert V. Russos
                                      580 E. Main Street, #300
                                         Norfolk, VA 23510

                                                     /s/ Geoff B. McCarrell
                                                    Geoff B. McCarrell #0086427
                                                    CONSUMER LAW PARTNERS, LLC
